Case 21-03020-sgj Doc 109-8 Filed 09/10/21   Entered 09/10/21 20:50:57   Page 1 of 2




                         EXHIBIT 7




                                                                         UBSPO030
          Case 21-03020-sgj Doc 109-8 Filed 09/10/21                   Entered 09/10/21 20:50:57             Page 2 of 2




From: Christopher Weldon <cweldon@kwcllp.com>
Sent: Friday, August 20, 2021 11:52 AM
To: Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; McLaughlin, Shannon (NY) <Shannon.McLaughlin@lw.com>
Cc: Justin R Waytowich <JWaytowich@kwcllp.com>
Subject: UBS, et al v Highland, et al

I am following up my voicemail of earlier today to you both. As I stated, I have been recently retained to assist Beecher
Carlson in responding to your two Information Subpoenas. As I requested in my voicemail, I am looking for an extension
of time to respond to the two Subpoenas until September 3, 2021 as I am away this week and I will be returning to the
my office on Monday August 23, 2021.

I appreciate your attention to this matter and I look forward to working with you. If you have any questions or would
like to discuss the matter further before Monday, please do not hesitate to contact me on my cell phone.

Thanks,

Christopher B. Weldon, Esq.
KEIDEL, WELDON & CUNNINGHAM, LLP
ATTORNEYS AT LAW
925 Westchester Ave.
White Plains, New York 10604
Tele: (914) 948-7000 x115
Cell : (203) 984-5394
Fax: (914) 948-7010
cweldon@kwcllp.com
Website: http://www.kwcllp.com

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